Case 2:05-cr-20079-.]PI\/| Document 21 Filed 06/23/05 Page 1 of 2 Page|D 33

IN THE UNITED STATES DlsTRlCT COURT J ' ’ %» h
FOR THE WESTERN DISTRJCT OF TENNESSEE 35 i,_r ll .V _
WESTERN DIVISION ""‘"]’*' 53 ‘“:"‘i §

 

UNITED STATES OF AMERICA

 

Plaintiff,
VS CR. NO. 05-20079-Ml
DALE SHANE JOHNSON

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}
Defendant(s) )
)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause Was set a Report Date on Friday, June 24, 2005 at 9:00
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for Report
Date to Friday, August 26, 2005 at 9:00 a.m. with. a trial date of
Tuesday, September 6, 2005 at 9:30 a.m.

The period from July 15, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3l61(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

IT IS SO ORDERED this the J$Eg day Of June, 2005.

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JON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20079 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

